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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 22-80173-CR-CANNON

     UNITED STATES OF AMERICA

     vs.

     WILLIAM MICHAEL SPEARMAN,

                                   Defendant.
     - - - - - - - - - - - - - - - -I
                                          FACTUAL PROFFER

            The United States of America and William Michael SPEARMAN ("Defendant" or

     "SPEARMAN") agree that if this case had gone to trial, the United States would have proven the

     following facts beyond a reasonable doubt:

            I.      At all relevant times, "Website A" was a website dedicated to the advertisement

     and distribution of child pornography, as defined in 18 U .S.C. § 2256(8)(A), and the discussion of

     child sexual abuse. Users of Website A could engage in online communications with other users.

     Users trafficked in child pornography via Website A by posting web links within messages.

     These links redirected to other websites, such as file-hosting websites, where the linked-to child

    pornography images and videos were available for download and/or viewing. Under the rules of

    Website A, the links were required to contain descriptive text that provided information about the

     sexual acts and age and gender of the child victim depicted in the linked-to child pornography

    files. During the timeframe relevant to this matter, Website A users made tens or hundreds of

    thousands of child pornography images and videos available in this manner. At all relevant times,

    Website A was managed by particular users referred to as "staff" and it had at least 100 registered

    members.
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                c. 4th OneTouch external HOD, serial #NABR6R4T

                d. 320 GB HGST hard disk drive, serial# YI GE9Y6L

                e. Getac S400 Laptop, serial # RC439S0359

                f.   Toshiba Satellite Laptop, serial# XC301289R

                g. OCZ 960GB SSD, serial# Y5AB4045KIHU

                h. Strontium 128GB thumb drive, serial# AACM2W3BQC12UKKL

                1.   SAMSUNG Galaxy SlOE Cellular Phone, serial# R58M22E327F

                J.   Scorpio Blue Western Digital HOD, serial# WD3200LPVT,

                k. Red PNY Memory Stick, serial# l 740730F045 l IF27

                I.   OCZ TR10Nl50 Hard Drive, serial# Y5AB4045KIHU

                m. Crucial Hard Drive BX200, serial# 1541FOODFE20

                n. Cruzer Dial SanDisk 32gb thumb drive, SN: 4C531001490422115294

           7.        Based on these facts and other information known to the parties, SPEARMAN

    agrees that, had this case gone to trial, the government would have proven beyond a reasonable

    doubt, as to Count 3 of the Second Superseding Indictment, that SPEARMAN engaged in a child

    exploitation enterprise in violation of Title 18, United States Code, Section 2252A(g) beginning

    in or around March 2018 and continuing through the date of his arrest, such that:

                a. The defendant advertised and distributed child pornography on three or more
                   separate occasions between in or around March 2018 and November 2, 2022;

                b. The defendant committed those offenses in concert with three or more other
                   persons; and

                c. The offenses involved more than one minor victim.

    With regard to the defendant's advertisement of child pornography as part of the child exploitation

   enterprise, the government would have proven the following beyond a reasonable doubt:
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               a. The defendant knowingly made, printed, or published, or caused to be made,
                  printed or published, a notice or advertisement seeking or offering;

               b. To produce, display, distribute, exchange, or reproduce any visual depiction
                  involving the use of a minor engaged in sexually explicit conduct, and the visual
                  depiction is of such conduct; and

               c. The defendant knew or had reason to know that the notice or advertisement would
                  be transported using any means or facility of interstate or foreign commerce or in
                  or affecting interstate or foreign commerce by any means, including by computer
                  or mailed; or

               d. Such notice or advertisement was transported using any means or facility of
                  interstate or foreign commerce or in or affecting interstate or foreign commerce by
                  any means, including by computer or mailed.

    With regard to the defendant's distribution of child pornography as part of the child exploitation

    enterprise, the government would have proven the following beyond a reasonable doubt:

               a. The defendant knowingly distributed an item or items of child pornography;

               b. The defendant distributed the item or items of child pornography using any means
                  or facility of interstate or foreign commerce;

               c. When the defendant distributed the items, he believed the items were or contained
                  child pornography.

                                                 MARKENZY LAPOINTE
                                                 UNIT  STA TES A TTORNE


    Date:                                By:

                                                                          TATES ATTORNEY


    Date:                                By:

                                                                YMAN
                                                              ORNEYS, U.S. DEP'T OF JUSTICE


                                         By:
                                                            RRY
                                                            Y FOR DEFENDANT


    Date:                                By:         ~             • ~,.,m,.:'.J
                                                 WILLIAM MICHAEL          A
                                                 DEFENDANT
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